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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

ST. CHARLES SURGICAL HOSPITAL, LLC                                          CIVIL ACTION

VERSUS                                                                      NUMBER: 18-1861

LOUISIANA SERVICE INDEMNITY                                                 SECTION: “B” (2)
COMPANY, INC., ET AL

                                   ORDER OF DISMISSAL


        The Court having been advised that all of the parties to this action have firmly agreed upon

a compromise.

       IT IS ORDERED that the action be and is hereby dismissed without costs and without

prejudice to the right, upon good cause shown, to reopen the action or to seek summary judgment

enforcing the compromise if settlement is not consummated. The Court retains jurisdiction for all

purposes, including enforcing the settlement agreement entered into by the parties for a reasonable

period of time. Fed. R. Civ. P. 41(a)(2); Kokkonen v. Guardian Life Ins. Co. of Am., 511 US 375,

381-82 (1994); Hospitality House, Inc. v. Gilbert, 298 F.3d 424, 430 (5th Cir. 2002).

       COUNSEL        ARE      REMINDED         THAT,      IF   WITNESSES         HAVE      BEEN

SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT TO

APPEAR.

       IT IS FURTHER ORDERED THAT ALL PENDING MOTIONS BETWEEN

SETTLING PARTIES ARE DISMISSED AS MOOT.

       New Orleans, Louisiana, this 29th day of May 2020



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                                          SENIOR UNITED STATES DISTRICT JUDGE
